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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )        CHAPTER 7
                                              )
HP/SUPERIOR, INC.,                            )        CASE NO. 14-71797-pwb
                                              )
                      Debtor.                 )

                  NOTICE OF UNPAID ADMINISTRATIVE EXPENSES

       COMES NOW Scroggins & Williamson, P.C. (“S&W”), Chapter 11 bankruptcy counsel

for HP/Superior Inc., d/b/a St. Francis in the Park, in the above-referenced case (the “Debtor” or

“HP”), and files this Notice of Unpaid Administrative Expenses showing the Court as follows:

                                                  1.

       On November 3, 2014 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). By

order of the Court dated December 5, 2014, S&W was approved as counsel for the Debtor.

                                                  2.

       On September 23, 2015, this Court entered an Order Granting Application of Scroggins &

Williamson, P.C. for Interim Compensation and Reimbursement of Expenses pursuant to which

S&W was awarded and allowed interim compensation in the amount of $123,868.00, plus

reimbursement of expenses in the amount of $3,891.36, for the period from November 3, 2014

through and including July 1, 2015.

                                                  3.

       On October 27, 2015, the Court entered an Order Directing the Appointment of a Chapter

11 Trustee. On October 29, 2015, the Court entered an Order Approving S. Gregory Hays as

Chapter 11 Trustee. On November 16, 2015, the Court entered an Order Converting Cases to
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Cases Under Chapter 7 and Terminating and Severing Joint Administration of Cases which was

effective as of November 4, 2015.

                                                4.

        On February 3, 2016, this Court entered an Order Granting Second and Final Application

of Scroggins & Williamson, P.C. for Compensation and Reimbursement of Expenses pursuant to

which S&W was awarded and allowed final compensation in the amount of $19,499.50, plus

reimbursement of expenses in the amount of $466.47, for the period from August 1, 2015 through

and including October 31, 2015. The order also approved all prior interim awards as final and

entitled such awards to administrative expense priority under 11 U.S.C. §§ 330(a) and 502(b), as

a Chapter 11 administrative expense priority claim.

                                                5.

        As of May 31, 2021, seventy-three thousand eight hundred seventy-seven dollars and

thirty-three cents ($73,877.33) of the allowed fees and expenses remains unpaid.

        WHEREFORE, S&W seeks payment of the unpaid administrative expenses in the amount

of seventy-three thousand eight hundred seventy-seven dollars and thirty-three cents ($73,877.33)

at such time as the Trustee has sufficient funds to pay Chapter 11 administrative expenses, and

such other relief as if just and proper.

        This 1st day of June, 2021.

                                                     Respectfully submitted,

                                                     SCROGGINS & WILLIAMSON, P.C.
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 Suite 450
 Atlanta, Georgia 30327                               /s/ Ashley R. Ray
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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true and correct copy of the attached Notice

of Unpaid Administrative Expenses by the Court’s CM/ECF system on all counsel of record

registered in this case through CM/ECF.


       This 1st day of June, 2021.

                                                   Respectfully submitted,

                                                   SCROGGINS & WILLIAMSON, P.C.

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